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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASACHUSETTS


COMMONWEALTH OF
MASSACHUSETTS, ATTORNEY
GENERAL DANA NESSEL ON BEHALF
OF THE PEOPLE OF THE STATE OF
MICHIGAN, STATE OF ILLINOIS,
STATE OF ARIZONA, STATE OF
CALIFORNIA, STATE OF
CONNECTICUT, STATE OF COLORADO,
STATE OF DELAWARE, STATE OF
HAWAI’I, STATE OF MAINE, STATE OF
MARYLAND, STATE OF MINNESOTA,
STATE OF NEW JERSEY, STATE OF
NEW YORK, STATE OF NEVADA,
STATE OF NEW MEXICO, STATE OF
NORTH CAROLINA, STATE OF
OREGON, STATE OF RHODE ISLAND,
STATE OF VERMONT, STATE OF
                                                  Case No. 1:25-cv-10338
WASHINGTON, and STATE OF
WISCONSIN,

       Plaintiffs,

                     v.

NATIONAL INSTITUTES OF HEALTH;
MATTHEW MEMOLI, M.D., M.S., in his
official capacity as Acting Director of the
National Institutes of Health; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; and DOROTHY
FINK, in her official capacity as Acting
Secretary of the U.S. Department of Health
and Human Services,

       Defendants.



          PLAINTIFF STATES’ EX PARTE EMERGENCY MOTION FOR
                   TEMPORARY RESTRAINING ORDER




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       Plaintiffs Massachusetts, Attorney General Dana Nessel on behalf of the People of

Michigan, Illinois, Arizona, California, Connecticut, Colorado, Delaware, Hawai’i, Maine,

Maryland, Minnesota, New Jersey, New York, Nevada, New Mexico, North Carolina, Oregon,

Rhode Island, Vermont, Washington, and Wisconsin (collectively, “Plaintiff States”), hereby

respectfully move, pursuant to Fed. R. Civ. P. 65 and D. Mass. L.R. 7.1, for a temporary

restraining order on an emergency basis to enjoin Defendants from implementing a 15% cap on

“indirect costs” for all existing and future grants funded by the National Institutes of Health,

including those awarded to Plaintiff States’ institutes of higher education (“IHEs”). The Rate

Change Notice was announced by Defendants on Friday night, February 7, to take effect today—

Monday, February 10 (the “Rate Change Notice”), 1 and unquestionably violates federal law in

multiple respects.

       Indirect costs are the backbone of IHEs’ research programs and cover everything from

utilities to facilities and equipment maintenance to payroll for faculty and staff to compliance

programs, hazardous waste disposal, and more. They quite literally keep the lights on. If the Rate

Change Notice were to take effect, Plaintiffs States’ IHEs stand to lose hundreds of millions

dollars that currently support life-saving medical research and clinical trials, the effects of which

will be felt immediately. It is not hyperbole to say that, absent immediate injunctive relief,

Plaintiff States’ IHEs will face catastrophic financial consequences, which could result in layoffs

and furloughs, research program closures, financial defaults, and disruptions to clinical trials,

potentially jeopardizing people’s lives and health.




1
 See Notice NOT-OD-25-068, available at https://grants.nih.gov/grants/guide/notice-files/NOT-
OD-25-068.html#_ftnref1.
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       Plaintiffs hereby incorporate by reference the Complaint and the Memorandum of Law in

Support of Plaintiffs’ Motion, filed contemporaneously herewith. As detailed in the

accompanying Memorandum of Law, Plaintiffs are likely to succeed in showing that: (i)

Defendants’ Rate Change Notice violates the Administrative Procedures Act (“APA”) in

multiple respects, including that it is arbitrary and capricious, contrary to law, in excess of

statutory authority, ultra vires, and issued without observing notice-and-comment requirements;

(ii) without a temporary restraining order, Plaintiff States will suffer irreparable harm; (iii) the

balance of harms weighs strongly in Plaintiff States’ favor; and (iv) the requested temporary

restraining order will serve the public interest by maintaining the status quo.

       WHEREFORE, Plaintiff States respectfully requests that the Court: (i) immediately enter

a temporary restraining order prohibiting Defendants and their officers, employees, and agents

from taking any steps to implement, apply, or enforce the Rate Change Notice (NOT-OD-25-

068) within Plaintiff States; and (ii) order Defendants to file a status report with the Court within

24 hours of entry of a temporary restraining order, and at regular intervals thereafter, confirming

the regular disbursement and obligation of federal financial assistance funds and reporting all

steps that NIH, HHS and their officers, employees, and agents have taken to comply with the

Court’s temporary restraining order.




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Dated: February 10, 2025            Respectfully submitted,


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                             LOCAL RULE 7.1 CERTIFICATE

       I, Katherine Dirks, certify that on February 10, 2025, at approximately 11:20am, I
contacted the following individuals at the U.S. Department of Justice by electronic mail to
provide notice of this motion:

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Plaintiffs have not yet had an opportunity to meet and confer with Defendants’ counsel, but are
proceeding with this filing given the need for prompt relief, as set forth in the accompanying
memorandum of law.

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